                               IN THE UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF VIRGINIA
                                    CHARLOTTESVILLE DIVISION

                                 CRIMINAL MINUTES - BOND HEARING


 Case No.: 5:19-CR-00030-04                                        Date: September 24, 2019


 Defendant: Josie Peacoe - CUSTODY                             Counsel: Louis K. Nagy - APPOINTED



 PRESENT:         JUDGE:                       Hon. Joel C. Hoppe, USMJ          TIME IN COURT: 2:14-2:27=13 min.
                  Deputy Clerk:                Joyce C. Jones
                  Court Reporter:              FTR/J. J. Jones
                  U. S. Attorney:              Erin Kulpa
                  USPO:                        Sarah Goodwin
                  Case Agent:                  Tom Hickey, DEA
                  Interpreter:                 Interpreter


                                                     BOND HEARING

         Bond hearing held partially and deferred. Bond hearing will be continued to October 4, 2019 at 9:30 a.m.
         in Harrisonburg to allow the court to hear from the mother of the defendant and for defense counsel to
         provide more information to the Court.
         Government does oppose bond.
         Defendant(s) not eligible for bond because state reasons not eligible
         Bond set at Amount, type, i.e., secured, unsecured, property, cash, corporate surety. Written appearance
         bond and order setting conditions of release to follow.
         Defendant remanded to custody pending posting of secured bond.
         Bond denied. Defendant remanded to custody. Written detention order will follow.


 Additional Information:
 USPO asks the court if they should do a home study prior to the next bond hearing. Court requests it to be done.
 Defendant remanded to the custody of the U. S. Marshal.




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